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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

PAMELA RICARD,
                                  Plaintiff,
                         v.
USD 475 GEARY COUNTY SCHOOLS SCHOOL
BOARD MEMBERS—Ron Johnson, Kristy
Haden, Anwar Khoury, Jim Schmidt—in their      Case No: 5:22-cv-04015-HLT-GEB
official and individual capacities; Beth
Hudson, Mark Hatcher, Jason Butler—in their
official capacities; REGINALD EGGLESTON,
Superintendent, USD 475 Geary County
Schools, in his official and individual
capacities; KATHLEEN BRENNAN, Principal,
Fort Riley Middle School, in her official
capacity.
                               Defendants.

   PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
                              DISMISS
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                                        INTRODUCTION
       At issue in this case is whether public school teachers retain any constitutional rights inside

the schoolhouse gates against compelled speech. Defendants say the answer is “no,” regardless of

how unrelated that speech is to a teacher’s core duties and regardless of whether it would compel

a teacher to directly contradict her conscience and faith. That answer defies common sense, and

squarely contradicts Supreme Court precedent.

       Fifteen years ago, the United States Court of Appeals for the Tenth Circuit held that

“speech relating to tasks within an employee’s uncontested employment responsibilities is not

protected from regulation.” Brammer-Hoelter v. Twin Peaks Charter Acad., 492 F.3d 1192, 1203
(10th Cir. 2007) (emphasis added). Brammer-Hoelter follows the Supreme Court’s decision in

Garcetti v. Ceballos, in which the Court held that “when public employees make statements

pursuant to their official duties, the employees are not speaking as citizens for First Amendment

purposes.” 547 U.S. 410, 421 (2006). But neither Garcetti nor Brammer-Hoelter address the more

fundamental question of what the government can make an official duty in the first place. In other

words, what happens when the validity of the duty itself is contested?

       This case, especially Defendants’ own attempted justification for their actions, shows why

established compelled speech principles, not Garcetti, determine whether a duty is valid in the first

place. Defendants interpret Garcetti and Brammer-Hoelter in an untenable fashion, asserting that

the mere fact that the government has ordered an employee to speak makes reciting those words

an official duty and, therefore, Garcetti bars all First Amendment challenges. In short, per

Defendants, the government can order employees to say whatever it wants.

       This interpretation contradicts Garcetti itself, which promised that “public employees do

not surrender all their First Amendment rights by reason of their employment.” 547 U.S. at 417. It

goes so far as to say that the First Amendment permits government to compel employees to lie, a

result Garcetti never suggested. See Jackler v. Byrne, 658 F.3d 225, 241–42 (2d Cir. 2011). And,

more importantly for this case, it contradicts the seminal school speech case of Tinker v. Des

Moines Independent Community School District, where the Supreme Court famously said that


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neither “students [n]or teachers shed their constitutional rights to freedom of speech or expression

at the schoolhouse gate.” 393 U.S. 503, 506 (1969).

       In this case, Defendants attempted to compel Ms. Ricard to speak the government’s

preferred message about sex and gender identity by forcing her to participate in students’ social

transition at school and to address them with preferred names without prior permission from

parents. Because expressing this message and deceiving parents violated Ms. Ricard’s conscience,

she sought to take a “neutral” approach by using the students’ last name (something that other

teachers did on a regular basis).

       Knowing that Ms. Ricard did not agree with the school’s viewpoint about sex and gender

identity, the school suspended her, even though no policy at the time prohibited addressing

students by last name. Immediately after her suspension, Defendants released documents

(conveniently backdated to before Ms. Ricard’s suspension) interpreting old policies to require use

of preferred names and pronouns.

       Then, Defendants adopted a new policy that continued to require using any name and

pronoun a student preferred while expressly prohibiting notification of parents without the

students’ affirmative consent. As a result, this new policy obliged Ms. Ricard to violate her

conscience and mislead parents by referring to students by their legal name in communications

with parents and by their preferred names at school.

       Defendants claim all of this is fine because of their expansive interpretation of Garcetti

and move to dismiss all of Ms. Ricard’s claims. But Ms. Ricard has alleged facts sufficient to show

that Defendants violated her right to free speech, free exercise of religion, due process of law,

equal protection of law, and the District’s Negotiated Agreement with its employees. In addition,

all Defendants are harming Ms. Ricard by continuing to maintain the record of her unlawful

suspension and reprimand. Therefore, the Court should deny Defendants’ Motion to Dismiss.




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                                     STATEMENT OF FACTS
        Ms. Ricard has pled facts to show that she did not violate any policy before her suspension,

that she engaged in constitutionally protected speech and religious exercise, that Defendants

violated her legal rights, and that Defendants’ actions have caused and are causing her injury.
I. Ms. Ricard is a woman of faith with a long, successful teaching career.
        Plaintiff Pamela Ricard is a Christian. V. Compl. (hereinafter “Compl.”) at ¶ 84, ECF No.

1. Her beliefs direct her actions in every part of her life, including the way she interacts with

students and their parents. Id. at ¶¶ 84, 86. Ms. Ricard taught in the USD 475 Geary County School

District (“the District”) since 2005. Id. at ¶ 1.
    A. Ms. Ricard’s faith guides her words and actions in all aspects of her life.
        Ms. Ricard’s faith instructs her understanding of human nature, identity, and personhood

and directs the way she treats and addresses other people. Id. at ¶¶ 85–88. Ms. Ricard believes that

“God immutably creates each person as male or female; these two distinct, complementary sexes

reflect the image of God; and rejection of one’s biological sex is a rejection of the image of God

within that person.” Id. at ¶ 87. In addition to her religious belief, Ms. Ricard understands that

available scientific evidence shows that human beings are a species with only two sexual

organizations: male and female. Id. at ¶ 79.

        Ms. Ricard believes that, regardless of a person’s sex or beliefs about gender identity, it is

her obligation to “treat every person with dignity, love, and care.” Id. at ¶ 90. This obligation binds

Ms. Ricard’s words in two important respects. First, she cannot say things that are not true. Id. at

¶ 88. Second, she cannot speak to anyone in a way that is harmful. Id. at ¶ 89.

        Ms. Ricard understands that some children may identify with a gender that is inconsistent

with their sex. See id. at ¶¶ 70–71, 81–83. But children do not have a fully developed capacity to

evaluate matters like how gender relates to sex (something with which most have no firsthand

experience at all) or the potential long-term consequences of decisions they make now. See id. at

¶¶ 70–71. As a result, Ms. Ricard believes that she cannot participate in the “social transition” of

a child. Id. at ¶¶ 71, 89. That is, she cannot address a biologically female child as “he” and she



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cannot address a biologically male child as “she.” Participating in a child’s social transition is

harmful because it subjects the child to risk of irreversible consequences to which the child is

incapable of providing informed consent. Id. at ¶¶ 70–71. In addition, Ms. Ricard cannot

participate in a child’s social transition because doing so is lying. Id. at ¶¶ 88–89.

        Ms. Ricard’s beliefs also compel her to be honest with parents. Ms. Ricard’s conscience

bars her from complying with school policies that address gender identity issues at school in a way

that is “deceptive” toward parents. Id. at ¶ 76. Ms. Ricard’s obligation to be forthright with parents

about the way a child is addressed at school stems both from her own duty to avoid deception and

her respect for the parent’s fundamental right to control the upbringing and education of their

children. Id. at ¶¶ 74, 76, 88.
    B. Ms. Ricard had a long, successful career as a public-school teacher.
        Apart from Defendants’ compulsion to the contrary, Ms. Ricard has taught consistently

with her beliefs in the District since 2005. Id. at ¶ 1. She has always done her best to treat her

students, including students who express a gender identity inconsistent with their sex, with dignity,

love, and care. Id. at ¶ 90. For example, Ms. Ricard first learned that one of her students had

requested to be addressed with a different name when she was trying to provide that student with

a needed pair of blue jeans. See id. at ¶ 98–103. This student told Ms. Ricard that she only owned

one pair of jeans and they were getting torn. Id. at ¶ 99. The student did not ask Ms. Ricard to
address her with a different name. But when Ms. Ricard brought some jeans to school for the

student, another teacher first informed Ms. Ricard that the student was using a different name. Id.

at ¶ 103. Ms. Ricard’s career as a teacher is characterized by her care for each student, regardless

of how the student identifies, and Ms. Ricard never suffered any formal disciplinary action until

April 2021.
II. Defendants suspended Ms. Ricard even though she violated no existing policy.
        In April 2021, Defendants suspended Ms. Ricard for her speech even though no existing

policy prohibited her speech and Defendants did not punish other staff for similar speech.




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   A. Defendants instructed teachers to use preferred names but did not bar teachers from
      using last names to address students.
       On March 31, 2021, then-Principal Shannon Molt emailed all teachers at Fort Riley Middle

School saying, “When we have a student that requests to go by a preferred name that is different

than their given name, our district honors the request. Once you are aware of a preferred name, use

that name for the student.” Id. at ¶ 105; Compl. Ex. A, ECF No. 1-1 at 2. At the time, no board

policy or other written policy required using a student’s “preferred name.” Compl. at ¶¶ 7, 106.

Neither Ms. Molt’s email nor any other policy defined “preferred name” or explained when a name

was actually mandatory or whether a teacher might have discretion to refrain from using the name

(for example, if a student asserted that his preferred name was an obscene term). Id. Ms. Molt’s

email did not say that using a student’s legal last name was prohibited. See Compl. Ex. A, ECF

No. 1-1 at 2.

       On April 7, 2021, School Counselor Jason Lubbers emailed Ms. Ricard, saying that a

student in Ms. Ricard’s class (“Student 1”) “would like to be called by [different first name.]”

Compl. at ¶ 107; Compl. Ex. B, ECF No. 1-2 at 2. Like Ms. Molt’s email, Mr. Lubbers’s email did

not reference any existing policy or say that use of a last name was prohibited. See Compl. at ¶ 108.

Nor did Mr. Lubbers’s email indicate that Student 1 wished to be called only by the new first name
that the student requested. Id. at ¶ 109. Mr. Lubbers did not say anything about whether Ms. Ricard

was required to use different pronouns to refer to the student. See Compl. Ex. B, ECF No. 1-2 at

2. In fact, Mr. Lubbers referred to Student 1 with the feminine pronoun, “she,” which was

consistent with Student 1’s enrolled name and sex in the school’s records and inconsistent with

the student’s new preferred first name. See id.; Compl. ¶¶ 107, 110.
   B. Prior to Ms. Ricard’s suspension, Defendants did not interpret any existing policies
      to require use of preferred pronouns or prohibit use of last names.
       At the time of Ms. Molt’s and Mr. Lubbers’s emails, no school policy expressly addressed

use of preferred names, preferred pronouns, or use of last names. Three policies addressing teacher

conduct are relevant (based on Defendants’ later application of these policies): Policy GAACB




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(the “Diversity and Inclusion Policy”), Policy GAAE (the “Bullying Policy”), and Policy GAF

(the “Staff-Student Relations Policy”).

        The Diversity and Inclusion Policy said,

        All employees, students and the Board of Education of Geary County USD 475 have a
        responsibility to treat others with dignity and respect. All employees, students and the
        Board of Education are expected to exhibit conduct that reflects dignity, respect and
        inclusion at all times during the instructional day and at all other district-sponsored
        programs and events.
Compl. Ex. D, ECF No. 1-4 at 4. Prior to April 15, 2021, no District policy, notice, or other

document defined “conduct that reflects dignity, respect and inclusion at all times” as requiring

use of preferred names or pronouns or prohibiting use of last names in response to a student’s

request to use a different first name. See Compl. at ¶¶ 7, 106.

        The Bullying Policy “prohibits bullying in any form by any . . . staff member . . . towards

a student” and provides that “the term ‘bullying’ shall have the meaning ascribed to it in Kansas

law.” Compl. Ex. R, ECF No. 1-18 at 3. Kansas law defines bullying as a “verbal . . . or physical

act or threat . . . that is sufficiently severe, persistent or pervasive that such creates an intimidating,

threatening or abusive educational environment that a reasonable person . . . knows or should know

will have the effect of” harming a student, damaging their property, or placing the student in

reasonable fear of that harm or damage. Kan. Stat. Ann. § 72-6147(a)(1)(A); see Compl. Ex. D,

ECF No. 1-4 at 4. Prior to April 15, 2021, no District policy, notice, or other document stated that
nonuse of a student’s preferred name or pronoun or use of the student’s last name rose to the level

of “bullying” as defined in Kansas law. See Compl. at ¶¶ 7, 106.

        The Staff-Student Relations Policy says, “Staff members shall maintain professional

relationships with students which are conducive to an effective educational environment. . . . Staff

members shall not have any interaction of a romantic and/or sexual nature with any student at any

time regardless of the student’s age or consent.” Compl. Ex. R, ECF No. 1-18 at 4. Prior to April

15, 2021, no District policy, notice, or other document stated that nonuse of a student’s preferred




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name or pronoun or use of a student’s last name was not “professional” or constituted a prohibited

“interaction of a romantic and/or sexual nature.” See Compl. at ¶¶ 7, 106.

       Consistent with the absence of any policy or guidance prohibiting the use of last names,

other teachers have addressed students by last name without incurring discipline. See id. at ¶ 267.
    C. Defendants suspended Ms. Ricard for addressing a student by last name.
       After receiving Mr. Lubbers’s email, Ms. Ricard considered how she might be able to act

consistent with the email’s directive, her own conscience, the student’s wellbeing, and the parents’

interests. See Compl. at ¶¶ 111–13. On April 7, 2021, she contacted Assistant Principal Terry

Heina for advice, because “I felt like if the parents are not okay with their name change then I

shouldn’t be calling them anything but what is put in Skyward.” Defs.’ Resp. in Opp. to Pl.’s Mot.

for Prelim. Inj., Ex. 13 (hereinafter “Defs.’ Ex. 13”), ECF No. 11-14 at 49. 1 After this discussion
Ms. Ricard determined “that the best and most neutral course of action would be to address Student

1 by her last name.” Compl. at ¶ 113.

       Later that day, Ms. Ricard addressed Student 1 as “Miss [last name].” See id. at ¶ 114. Ms.

Ricard explained that her use of the gendered honorific “miss” was inadvertent. See Defs.’ Ex. 13

at 50 (“I didn’t realize I had [used “miss”] until I received the email from [Student 1’s] friend

. . . .”). Describing the incident to Mr. Heina, Ms. Ricard said, “I messed up and called her Miss

[last name] instead of [last name] and” that she “would correct it tomorrow.” Id. (emphasis added).

       Student 1 never expressed any concern with Ms. Ricard’s use of her last name. See Compl.

at ¶ 116. Also on April 7, another student (“Student 2”) emailed Ms. Ricard to complain. See id.

at ¶ 115. Student 2 was also female but asked to be called by a masculine first name. Id. at ¶ 103.

The next day, Ms. Ricard had to discipline Student 2 for emailing during class time. Id. at ¶ 118–

19. Student 2 took offense at Ms. Ricard’s use of Student 2’s legal first and last name on the




1
 Defendants offer this document because it is referenced in, but not attached to, Plaintiff’s
Complaint. See Def.’s Mem. in Supp. of Mot. to Dismiss (hereinafter “Def.’s Mem.”), ECF No.
27 at 9 n.2. Plaintiff does not object to the consideration of Document 11-14 on the Motion to
Dismiss.

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disciplinary form, so she scratched out those terms and threw the form in the trash. Id. at ¶¶ 120.

Student 2 left a note on Ms. Ricard’s desk accusing her of being “visibly transphobic.” Id. at ¶ 123.

          Ms. Ricard emailed Ms. Molt, Mr. Heina, and Defendant Brennan about Student 2’s

destruction of the discipline form and her accusatory note. Id. at ¶ 124. Ms. Molt initially said that

she would have individual conversations with Student 2 and Ms. Ricard followed by a group

conversation. Id. at ¶ 125. The following day, April 9, Ms. Molt called Ms. Ricard to a meeting at

10:30 a.m. Id.at ¶ 128. Ms. Ricard believed this to be the meeting in advance of the group

conversation with Student 2 that Ms. Molt had originally promised. See Defs.’ Ex. 13 at 51.

Instead, this meeting included then-District HR Officer Dawn Toomey. See Compl. at ¶¶ 128–32.

Ms. Toomey asked Ms. Ricard about what had happened and she explained that she addressed

Student 1 as “Miss [last name]” on one occasion and as “[last name]” on one other occasion

because she “didn’t think we should be calling students different names without parental consent.”

Compl. at ¶ 131; Defs.’ Ex. 13 at 51.

          Later that day, Ms. Toomey suspended Ms. Ricard for three days, pending an investigation

of claims that Ms. Ricard’s use of Student 1’s last name violated District policy. See Compl. at ¶

132. Ms. Ricard returned to school on April 15, 2021. Ms. Molt delivered a Written Reprimand

concluding that Ms. Ricard violated the Diversity and Inclusion, Bullying, and Staff-Student

Relations policies. See Compl. Ex. D, ECF No. 1-4 at 4.

          On the Diversity and Inclusion Policy, the Reprimand recited the language quoted above,

see supra Part II.B, and claims that Ms. Ricard violated that Policy because “[t]he student [sic]

preferred name was not used by Mrs. Ricard.” Id. The Reprimand does not explain or point to any

District policy explaining how Ms. Ricard’s use of a last name violated the Diversity and Inclusion

Policy.

          Regarding the Bullying Policy, the Reprimand recited the definition of “bullying” from

Kansas law quoted above, see supra Part II.B, and claims Ms. Ricard engaged in “bullying”

because “Students felt discriminated against based on the teacher not using the preferred names.”

The Reprimand does not explain how Ms. Ricard’s decision to use last names, which was based


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on her concern about “calling students different names without parental consent,” not the students’

gender identity, constituted discrimination. See Defs.’ Ex. 13 at 51. Nor did the Reprimand explain

how Ms. Ricard’s use of a last name was “sufficiently severe, persistent or pervasive that [it]

creates an intimidating, threatening or abusive educational environment” that would place a

student in reasonable fear of harm to their person or property, as required by Kansas law. See Kan.

Stat. Ann. § 72-6147(a)(1)(A).

       Respecting the Staff-Student Relations Policy, the Reprimand recited the language quoted

above, see supra Part II.B, and asserts that Ms. Ricard violated this Policy because Student 1 “was

not called by [Student 1’s] preferred name after Mrs. Ricard received notification emails from a

student and the counselor. Prior to the notification, Mrs. Ricard called the student by their legal

name. After notification, Mrs. Ricard called the student by their last name.” Compl. Ex. D, ECF

No. 1-4 at 4–5. The Reprimand did not explain how use of a student’s last name violated any

provision of the Staff-Student Relations Policy.

       With respect to all three claimed policy violations, the Reprimand only faulted Ms. Ricard

for use of last names. The Reprimand did not allege that Ms. Ricard’s single use of “miss” violated

any policy. This reflects Ms. Ricard’s explanation that her single use of “miss” was inadvertent.

See Defs.’ Ex. 13 at 50.

       In addition to finding that Ms. Ricard’s use of a last name violated three policies that say

nothing about names at all, the Written Reprimand included future performance expectations that

stated “[p]referred names and pronouns will be utilized.” Compl. Ex. D, ECF No. 1-4 at 3

(emphasis added). Neither Ms. Molt’s email about preferred names, Mr. Lubbers’s email about

Student 1’s preferred name, or any District policy said anything about use of pronouns at the time

of the suspension or the Written Reprimand. See Compl. at ¶ 7.
III. Defendants adopted new policies targeting Ms. Ricard’s speech and religious practices.
       After Defendants interpreted their policies to (1) prohibit use of last names in place of

preferred first names, and (2) require use of preferred pronouns for the first time in their suspension

and reprimand of Ms. Ricard, Defendants moved to formalize these rules.


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   A. Days after Ms. Ricard’s suspension, Defendants interpreted their policies to require
      use of names and pronouns for the first time.
       On April 20, 2021, Ms. Ricard submitted her written rebuttal disputing her suspension to

Assistant Principal Lacee Sell. Compl. at ¶ 138. In their account of the facts, Defendants claim

“Ricard’s rebuttal (1) confirms she intentionally refrained from using the preferred name of

transgender students and (2) does not deny treating the transgender students differently in terms of

means of address (first names versus last names).” Defs.’ Mem. at 9. This contradicts both the

document and the allegations in the Complaint. In her rebuttal, Ms. Ricard did not say she did not

want to use “the preferred name of transgender students.” Id. (emphasis added). Rather, she said,

“I don’t think we should be calling students different names without parental consent.” Defs.’ Ex.

13 at 51 (emphasis added). See also id. at 49 (“I felt like if the parents are not okay with their name

change then I shouldn’t be calling them anything but what is put in Skyward.”). Ms. Ricard was

concerned about addressing students in ways parents disapproved or were unaware of, and this

concern applied to all students, not “transgender students,” as Defendants claim. In addition, Ms.

Ricard does “deny treating transgender students differently” in the Complaint, alleging that she

decided to use last names as “the best and most neutral course of action.” Compl. at ¶¶ 113

(emphasis added). See also Compl. ¶ 208 (“use or non-use of a pronoun does not constitute
prohibited discrimination”).

       The day after receiving Ms. Ricard’s rebuttal, Ms. Molt emailed all Fort Riley Middle

School Staff two documents. The first, “USD 475 Diversity Training on Gender Identity and

Expression” was dated April 7, 2021 (the same day as Mr. Lubbers’s email). See Compl. ¶ 139;

Compl. Ex. F, ECF No. 1-6 at 2. The second, “Use of Preferred Names and Pronouns” was dated
April 14, 2021 (the day before Ms. Ricard’s written reprimand). See Compl. ¶ 139.

       These policies, distributed for the first time on April 21, 2021, claimed that “refusing to

call someone by their preferred name or pronoun” constituted “discrimination.” See Compl. Ex. F,

ECF No. 1-6 at 5. The documents do not address potential nondiscriminatory reasons someone

might decline to use a “preferred name or pronoun.” For example, one might simply use sex-based

pronouns consistently. Or perhaps a teacher would decline all requests across the board without


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parental consent. The document addressed neither these nor any other potential nondiscriminatory

ways a person might not use a preferred name or pronoun.

       The “Use of Preferred Names and Pronouns” document also established a procedure before

new terms would be used by the school: (1) the student shares the request with a staff member, (2)

the staff member notifies the administrator, (3) the administrator or counselor has a subsequent

conversation with the student, (4) the building administration will notify the parents, and (5) the

administration or counselor will notify all teachers or additional staff with regular contact with the

student. See Compl. Ex. G, ECF No. 1-7 at 2.
   B. Defendants adopted a new policy and denied Ms. Ricard any accommodation.
       Throughout the spring and summer of 2021, Ms. Ricard pursued the grievance process

under the Negotiated Agreement between the District and District employees. See Compl. ¶¶ 141–

74. In connection with her appeals, Ms. Ricard offered a “Proposed Neutral Policy” wherein

students would be allowed to use preferred names or pronouns but teachers would be allowed to

(1) refrain from using pronouns that are inconsistent with sex and (2) use the preferred names if

they are “listed in the official enrollment records of the district and maintained in the Skyward

system.” Id. at ¶ 169.

       The Board initially denied Ms. Ricard’s appeals in closed session, violating the Kansas

Open Meetings Act. See id. at ¶¶ 175–79. Before the Board could take action in an open meeting,
Defendants Eggleston and Brennan told Ms. Ricard to sign an acknowledgement of District policy

and diversity training. Id. at ¶ 180. Through counsel, Ms. Ricard objected until the Board

Defendants took action on her appeal. Id. at ¶¶ 181–82.

       On September 7, 2021, the Board Defendants unanimously voted to deny Ms. Ricard’s

appeals and rejected her Proposed Neutral Policy. Id. at ¶ 184. Simultaneously, the Board amended

the Diversity and Inclusion Policy to add a single sentence: “Students will be called by their

preferred pronouns.” Id. at ¶ 186.

       Following the Board’s policy change, Defendant Eggleston implemented a new practice

displacing the procedure established in the “Use of Preferred Names and Pronouns” document,


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which Defendant Brennan promulgated by email on October 8, 2021. Under the new policy and

procedure, staff must use preferred names and pronouns and “USD 475 will not communicate this

information to parents unless the student requests the administration or counsel to do so, per

Federal FERPA Guidance.” Id. at ¶ 189. Defendants’ implementation of the Diversity and

Inclusion Policy required (1) immediate, mandatory use of a student’s preferred name and (2)

nondisclosure of the use of that name to parents unless the student gives express consent for the

disclosure. Id.
IV. Ms. Ricard is suffering ongoing injury as a result of Defendants’ adverse actions against
    her.
       Defendants injured Ms. Ricard by affirming the suspension and Written Reprimand. These

are black marks on her professional record. Although she has left the school, see Defs.’ Mem. at

12, these issues affect her ability to gain future employment. In addition, the Written Reprimand

ordered her to use pronouns inconsistent with biological sex in violation of her conscience. Compl.

Ex. D, ECF No. 1-4 at 3. Further, Ms. Ricard labored at the school under Defendant Eggleston’s

injunction against informing parents about students’ use of different names from October 8, 2021,

until the end of her employment. Compl. ¶ 189. Defendants’ orders forced Ms. Ricard to violate

her conscience.
                                         ARGUMENT
       Ms. Ricard has stated claims for relief, none of her claims are moot, and no Defendants are
entitled to qualified immunity. This Court should thus deny Defendants’ Motion to Dismiss.
I. Ms. Ricard has alleged sufficient facts to support all of her claims for relief.
       A motion to dismiss under Rule 12(b)(6) should be denied where the “specific allegations

in the complaint . . . plausibly support a legal claim for relief.” Alvarado v. KOB-TV, L.L.C., 493

F.3d 1210, 1215 n.2 (10th Cir. 2007). To satisfy this standard, “[s]pecific facts are not necessary;

the statement need only ‘give the defendant fair notice of what the . . . claim is and the grounds

upon which it rests.’” Erickson v. Pardus, 551 U.S. 89, 93 (2007) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 555 (2007)). In evaluating the Complaint, the Court “must accept all the

well-pleaded allegations of the complaint as true and must construe them in the light most


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favorable to the plaintiff.” Cressman v. Thompson, 719 F.3d 1139, 1152 (10th Cir. 2013). Ms.

Ricard’s Complaint alleges sufficient facts to notify Defendants of the claims and to plausibly

support all of her claims for relief.
    A. Defendants have violated Ms. Ricard’s right to freedom of speech.
        The threshold issue for all of Ms. Ricard’s free speech claims is whether Ms. Ricard’s

decision to use a last name instead of a preferred name was speech pursuant to her “official duties”

under Garcetti v. Ceballos, 547 U.S. 410, 421 (2006) or whether this was “school-sponsored”

speech governed by Hazelwood School District v. Kuhlmeier, 484 U.S. 260, 271 (1988). The

distinction between the government’s authority to restrict speech versus its ability to compel

speech bears on the government’s power to define employees’ official duties or to sponsor speech

in school. Ms. Ricard’s third cause of action, the violation of Ms. Ricard’s right to be free from

compelled speech, is the logical place to start.

        Defendants’ attempt to compel Ms. Ricard to speak in violation of her conscience involved

no valid “official duty” or school-sponsored speech. She thus had a constitutional interest in her

ability to speak and to remain silent. Since Defendants punished her for her constitutional exercise,

Ms. Ricard has also alleged facts sufficient to state a claim of retaliation (her first cause of action)

and content and viewpoint discrimination (her second cause of action).
        1. Defendants unconstitutionally sought to compel Ms. Ricard to speak.
        “[T]he right of freedom of thought protected by the First Amendment against state action

includes both the right to speak freely and the right to refrain from speaking at all.” Wooley v.

Maynard, 430 U.S. 705, 714 (1977). Defendants’ suspension of Ms. Ricard, the Written

Reprimand’s order to begin using preferred names and pronouns, and Defendant Eggleston’s order

to do so while concealing this fact from parents were attempts to compel Ms. Ricard to speak. The

Written Reprimand does not claim Ms. Ricard was punished for what she said. Instead, it shows

she was punished for what she did not say: “[t]he student preferred name was not used by Ms.

Ricard”; “[s]tudents felt discriminated against based on the teacher not using preferred names”;




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“[Student 1] was not called by [the student’s] preferred name . . . .” Compl. Ex. D, ECF No. 1-4

at 4 (emphasis added).

       Defendants claim that “[c]ensorship of speech is no different than compelled or forced

speech under the First Amendment.” Defs.’ Mem. at 16. That view is mistaken, both as it relates

to Garcetti’s “official duties” test and Hazelwood’s concept of “school-sponsored speech.”
           a. Ms. Ricard was under no valid official duty to use preferred names and
              pronouns while misleading parents about that use.
       Under Garcetti, it is not the case that “all speech within the office is automatically exposed

to restriction.” 547 U.S. at 421. But “when public employees make statements pursuant to their

official duties, the employees are not speaking as citizens for First Amendment purposes.” Id.

(emphasis added). Restricting this speech does not violate the Constitution because the employee’s

personal liberty interest is in speaking “as a citizen addressing matters of public concern,” not in

being able to spread her own preferred message while she “perform[s] the tasks [s]he was paid to

perform.” Id. at 417, 422. Thus, the Garcetti Court said, “Restricting speech that owes its existence

to a public employee’s professional responsibilities does not infringe any liberties the employee

might have enjoyed as a private citizen.” Id. at 421–22 (emphasis added).

       Defendants argue that (1) because compelled speech is no different from restricted speech,

and (2) because everything a teacher says to students is a part of her official duties, the school can

compel a teacher to say whatever it wants and teachers have no First Amendment claim. See Defs.’
Mem. at 16–17. Under this reading of Garcetti, the fact that speech is compelled shows that it is

an official duty and, therefore, means that there’s no First Amendment claim. Under Defendants’

rule, schools can order teachers to say anything.

       Defendants’ theory is wrong because it directly contradicts both Garcetti and Tinker.

Garcetti assures that “public employees do not surrender all their First Amendment rights by

reason of their employment” and warns against attempts by “employers [to] restrict employees’

rights by creating excessively broad job descriptions.” 547 U.S. at 417, 424. And Tinker promises




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that neither “students [n]or teachers shed their constitutional rights to freedom of speech or

expression at the schoolhouse gate.” 393 U.S. at 506.

       Nor has the Tenth Circuit accepted Defendants’ theory. In Brammer-Hoelter, the Tenth

Circuit addressed the application of Garcetti to teacher speech and held, “speech relating to tasks

within an employee’s uncontested employment responsibilities is not protected from regulation.”

492 F.3d at 1203 (emphasis added). But the court did not assume that every order claiming to

constitute an official duty was valid. It simply followed Garcetti in acknowledging that an

employee has limited personal interest in expressing her own message when she is doing what is

part of her “uncontested” job. Id. The Tenth Circuit has also rejected arguments claiming that,

wherever there is a legal duty to speak, all speech is automatically a part of the employee’s official

duties. See Thomas v. City of Blanchard, 548 F.3d 1317, 1326 (10th Cir. 2008) (finding no official

duty resulting from legal duty to report wrongdoing because this “would effectively make the

obligation to report and seek the prosecution of fraud part of every employee’s job”).
              i.   Garcetti’s rule is designed for government restrictions on speech, not
                   governmental compulsion to speak the government’s message.
       Breaking the circularity of Defendants’ theory requires focusing where the Supreme Court

focuses: on whether the state action implicates the person’s interest as an employee or as a citizen.

“Restricting speech” at work “does not infringe any liberties the employee might have enjoyed as

a private citizen” because (1) that speech “owes its existence to a public employee’s professional
responsibilities” and (2) the employee still has the opportunity to express her own message outside

of work. Garcetti, 547 U.S. at 421–22. Restricting speech uttered during the course of “official

duties” only keeps the employee from speaking her own message while she is on the clock. It does

not deprive the employee of the opportunity to speak her message on her own time.

       But compelled speech, even in the workplace, implicates an employee’s interest as a citizen

in two ways. First, it compels her to say something that her conscience commands her never to

say—at work or on her own time. The fact that she can speak her preferred message on her own

time does not cure the harm of being forced to say something she would never say in any setting.



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The compulsion violates the employee’s conscience, both on the job and in her everyday life. As

the Supreme Court said in its most recent opinion on employees’ First Amendment interests,

“[w]hen speech is compelled . . . additional damage is done.” Janus v. Am. Fed’n of State, Cty.,

and Mun. Emps. Council 31, 138 S. Ct. 2448, 2464 (2018). The Court added, “[f]orcing free and

independent individuals to endorse ideas they find objectionable is always demeaning . . . .” Id.

        A second way compelled speech affects an employee’s interest as a citizen is that it creates

a barrier to seeking public employment in the first place. The employee must choose between her

conscience and her eligibility for a job. This, again, is different from a restriction in the workplace,

where the only thing the employee surrenders is the opportunity to speak her preferred message

while working. For both these reasons, “a law commanding ‘involuntary affirmation’ of objected-

to beliefs would require ‘even more immediate and urgent grounds’ than a law demanding silence.”

Id. (quoting W. Va. Bd. of Ed. v. Barnette, 319 U.S. 624, 633 (1943)).
             ii.    A rule compelling speech is subject to challenge under Pickering, not
                    shielded by Garcetti.
        Because compelled speech at work implicates the employee’s interests “as a citizen”

outside work, the question is whether “the order [is] justified on the ground that the effective

operation of the office demanded that the [employee] voice” the required “sentiments with which

she disagree[s].” Janus, 138 S. Ct. at 2473. In other words, the way to distinguish between a

prohibited compulsion of speech under Janus and the typical “uncontested employment
responsibilit[y]” under Brammer-Hoelter is through the balancing test set forth in Pickering v.

Board of Education of Township High School District 205, 391 U.S. 563, 568 (1968). If the

government’s interest “as an employer, in promoting the efficiency of the public services it

performs through its employees” outweighs the employee’s interest in remaining silent, then the

government “has a legitimate need to demand that its employees recite words with which they

disagree.” Janus, 138 S. Ct. at 2471, 2473. The key: because the compelled speech implicates the

employee’s interest outside of work, Garcetti’s rule about “[r]estricting speech” does not apply,

547 U.S. at 421, and the traditional Pickering rule is what’s left.



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             iii.   Ms. Ricard alleged that she wished to remain silent on a matter of public
                    concern.
       Since compelled speech implicates the Pickering standard, the employee must still show

that the matter on which she wishes to remain silent is a “matter[] of public concern.” 391 U.S. at

568. An order to fulfill a rudimentary task at work, like calling out the number of the next customer

in line, might seem like “compelled speech,” but this need not undergo Pickering balancing

because it does not address a matter of public concern. Most duties in the workplace are

“uncontested employment responsibilities,” and the reason they are uncontested is that they simply

do not implicate a matter of public concern. Brammer-Hoelter, 492 F.3d at 1203.

       But that’s not always the case. A matter of public concern is “any matter of political, social,

or other concern to the community.” Butler v. Bd. of Cty. Comm’rs for San Miguel Cty., 920 F.3d

651, 653 (10th Cir. 2019). Use or nonuse of names and pronouns addresses a matter of public

concern. See Janus, 138 S. Ct. at 2476 (listing “sexual orientation and gender identity” as

“sensitive political topics” and “matters of profound ‘. . . concern to the public.’” (internal citation

omitted). See also Meriwether v. Hartop, 992 F.3d 492, 508 (6th Cir. 2021) (“Pronouns can and

do convey a powerful message implicating a sensitive topic of public concern.”). Ms. Ricard has

alleged that, by initially using last names rather than preferred names (out of her concern for
parental interests) and then by avoiding pronouns inconsistent with a students’ sex, she was

addressing a matter of public concern. See Compl. at ¶¶ 11, 85, 204–05.
             iv.    Ms. Ricard alleged that her interest in remaining silent outweighed any
                    governmental interest in forcing her to express the government’s message
                    on sex and gender.
        Since pronouns convey a message addressing a matter of public concern, the next question

is whether the school’s “order [is] justified on the ground that the effective operation of the office

demanded that the [teacher] voice . . . sentiments with which she disagreed.” Janus, 138 S. Ct. at

2473. The government bears the burden of showing that its interests outweigh the employee’s. See

Connick v. Myers, 461 U.S. 138, 150 (1983). On a motion to dismiss, Defendants can only prevail

by showing that, even when taking Ms. Ricard’s allegations as true, their interests outweigh hers.




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See Montiero v. City of Yonkers, 890 F.3d 386, 401 n.4 (2d Cir. 2018) (noting that assessing the

Pickering balance “requires determining matters of fact”).

       Using the facts alleged in the Complaint, Defendants cannot make this showing.

Defendants claim that Ms. Ricard’s attempt to resist their “commands that [she] mouth a message

on [their] own behalf,” Janus, 138 S. Ct. at 2473, is discriminatory and, therefore, that the school

has an interest in punishing her. See Defs.’ Mem. at 23. Defendants claim, “Ricard never denied

the factual basis for her suspension—that she discriminated by treating transgender students

differently than cisgender students.” Id. The Complaint says otherwise, and it must be taken as

true. See Cressman, 719 F.3d at 1152. Ms. Ricard said at the time that her concern was with using

preferred names for students generally without parental permission and has alleged that her

practice was ”neutral.” See supra Facts III.A. Defendants offer no explanation for why Ms.

Ricard’s practice—which is to treat all students the same unless the student requests to be

addressed differently—is discriminatory. Because Ms. Ricard has alleged specific facts showing

that she does not treat students differently on the basis of gender identity, the court must treat that

allegation as true for purposes of determining whether she has stated a legal claim for relief.

Cressman, 719 F.3d at 1152. Thus, any interest Defendants may have in combatting discrimination

is not implicated by Ms. Ricard’s desire to avoid repeating Defendants’ preferred message about

sex and gender. See Compl. ¶¶ 207–11.

       In addition, Defendants’ have no interest because they are pursuing an unlawful objective.

The government has no interest in forcing Ms. Ricard to convey the school’s preferred message

about sex and gender—that is, that what makes a student a boy or girl is exclusively the student’s

expressed identity—because the government has no interest in using compulsive methods “to

foster a homogeneous people with [its preferred] ideals.” Meyer v. Nebraska, 262 U.S. 390, 402

(1923). Even in the public school context there is a “right to differ as to things that touch the heart

of the existing order.” Barnette, 319 U.S. at 642. Since “[c]ompulsory unification of opinion

achieves only the unanimity of the graveyard,” id. at 641, any coercive attempt “to produce a




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society free of . . . biases . . . . is a decidedly fatal objective.” Hurley v. Irish-Am. Gay, Lesbian &

Bisexual Grp. of Bos., 515 U.S. 557, 578–79 (1995) (emphasis added).

        In sum, the Diversity and Inclusion Policy did not create a valid official duty for Ms. Ricard

because (1) Defendants’ attempt to compel Ms. Ricard to speak the government’s message

implicates her interest as a private citizen, (2) the topic addressed a matter of public concern, and

(3) no governmental interest outweighs Ms. Ricard’s interests.
            b. Garcetti does not authorize the government to compel employees to lie.
        Ms. Ricard’s free speech claims are not barred by Garcetti for a second independent reason:

employees may challenge an order to tell a lie, even where the lie involves speech that is a part of

the employee’s official duties. See Jackler, 658 F.3d at 242 (holding that employee’s claim that he

was “terminat[ed] in retaliation for his refusal to . . . make false statements” was not barred by

Garcetti). 2 When the Board updated the Diversity and Inclusion Policy and Defendants Eggleston
and Brennan ordered teachers to use students’ preferred names and pronouns without notifying

parents, they ordered Ms. Ricard to lie in violation of her conscience. See Compl. ¶¶ 88, 189. This

is sufficient to state a free speech claim.
            c. Ms. Ricard has alleged that teachers in the District had no official duty to use
               preferred names and pronouns instead of last names.
        Generally, “[t]he question of whether speech is protected is a question of law, not of fact.”

Thomas, 548 F.3d at 1322. However, the question of whether speech is made pursuant to an official

duty “is a practical one.” Garcetti, 547 U.S. at 424. Since “the listing of a given task in an

employee’s written job description is neither necessary nor sufficient to demonstrate that

conducting the task is within the scope of the employee’s professional duties for First Amendment

purposes,” id. at 425, this question also should not be decided on a motion to dismiss. Ms. Ricard

has alleged that other District staff have not used preferred names or pronouns for a variety of

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  While “[t]he Tenth Circuit has not spoken on this issue,” Lincoln v. Maketa, 880 F.3d 533, 539
(10th Cir. 2018), the Tenth Circuit’s finding that the law on compelled false statements was not
clearly established for purposes of qualified immunity does not prohibit this Court from granting
prospective injunctive relief on that basis. “Qualified immunity . . . it is not a defense against
claims for injunctive relief against officials in their official capacities.” Meiners v. Univ. of Kan.,
359 F.3d 1222, 1233 n.3 (10th Cir. 2004).

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reasons and were not punished. See Compl. at ¶¶ 25, 197, 267, 272. It remains a question of fact

what, exactly, each teacher’s official duties were with respect to students’ names.
           d. Ms. Ricard’s speech was not school-sponsored speech.
       Defendants also claim all of Ms. Ricard’s free speech claims fail as a matter of law because

all of her speech to students is “school-sponsored speech.” See Defs.’ Mem. at 16, 18. That

argument, too, assumes the mistaken view that there is no distinction between compelled speech

and restricted speech, and so any speech that the school can restrict it can also compel. See id.

       Generally, school-sponsored speech “mean[s] activities that might reasonably be perceived

to bear the imprimatur of the school and that involve pedagogical concerns.” Flemming v. Jefferson

Cty. Sch. Dist. R-1, 298 F.3d 918, 924 (10th Cir. 2002). In Corder v. Lewis Palmer School District

No. 38, the Tenth Circuit did say that “forced speech is no different than censored speech” when

addressing school-sponsored speech. 566 F.3d 1219, 1231 (10th Cir. 2009). But the court made

that statement nine years before Janus, and was addressing student speech within an uncontestedly

school-sponsored event. Corder itself illustrates why Defendants’ rule is unworkable.

       In Corder, the school recognized fifteen valedictorians for the graduating class. Id. at 1222.

Since there would be no time for fifteen full valedictorian addresses, the valedictorians agreed to

each speak for thirty seconds, delivering remarks they submitted to the principal for prior approval.

Id. One student deviated from her pre-written speech and shared her faith. Id. The school refused
to deliver her diploma until she published an apology, part of which was written by the school. Id.

at 1222–23.

       Corder’s statement about the similarity of compelled and restricted speech in the school-

sponsored speech context made sense in that context because most of the time a student does not

speak during an uncontestably school-sponsored event like the valedictorian program. The court

simply recognized that, since Corder breached the rules of a school-sponsored event, she could

also be compelled to apologize “because Corder’s apology was directly related to her school-




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sponsored speech at the high school graduation.” Id. at 1231. 3 Since students have ample avenues

for expression outside of school-sponsored events, this rule makes sense.

       But Defendants’ theory is that all teacher speech to students “bears the imprimatur of the

school” and that all school orders about teacher speech to students “embod[y] legitimate

pedagogical concerns.” Defs.’ Mem. at 18. If that is true, then Tinker is wrong and teachers do in

fact “shed their constitutional rights to freedom of speech or expression at the schoolhouse gate.”

Tinker, 393 U.S. at 506. That cannot be. The right answer is that Corder’s rule makes sense as to

students, who are usually not taking part in school-sponsored speech. But when they do, students

may need to be told what to say in order to participate in a program or complete an assignment.

See, e.g., Axson-Flynn v. Johnson, 356 F3d 1277, 1286 (10th Cir. 2004) (“student speech that takes

place inside the classroom, as part of a class assignment, can also be considered school-sponsored

speech”). But, for teachers, who are present as employees (and not because of compulsory

attendance laws), the proper question is whether the school’s rule implicates the teacher’s interest

as a citizen. Since compelled speech forces a teacher to say something she would not say even on

her private time, such rules implicate that interest. So the proper question is whether the rule is

justified under Pickering, not the school-sponsored speech rubric. See supra Part I.A.1.a. This is

the only approach consistent with Tinker’s guarantee that teachers retain at least some

constitutional rights even at school. See 393 U.S. at 506.

       Even under the “school-sponsored speech” doctrine, Ms. Ricard has stated a claim. A

school’s action is not “reasonably related to legitimate pedagogical goals” if it is a “sham pretext

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  The court’s language appears to sweep more broadly. See Corder, 566 F.3d at 1231 (“The
Supreme Court has long recognized that, for purposes of the First Amendment, forced speech is
no different than censored speech.”). But the Supreme Court cases Corder cites only say that there
is no difference between compulsion and censorship in the sense that the Constitution protects
against both. See id. (quoting Riley v. Nat’l Fed’n of the Blind of N.C., Inc., 487 U.S. 781, 796–
97 (1988) to say that, “in the context of protected speech, the difference is without constitutional
significance, for the First Amendment guarantees ‘freedom of speech,’ a term necessarily
comprising the decision of both what to say and what not to say.”). Janus, decided nine years
after Corder, acknowledges that in the public employee context, “a law commanding ‘involuntary
affirmation’ of objected-to beliefs would require ‘even more immediate and urgent grounds’ than
a law demanding silence.” 138 S. Ct. at 2464 (quoting Barnette, 319 U.S. at 633) (emphasis
added).

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for an impermissible ulterior motive.” Axson-Flynn, 356 F.3d at 1289, 1293. As Ms. Ricard

alleges, other District staff have not used preferred names or pronouns for a variety of reasons and

were not punished. See Compl. at ¶¶ 25, 197, 267, 271–73. In contrast, Ms. Ricard was punished

and the District’s reason was because of her religious views. See id. at ¶¶ 271–73. Since these

allegations must be taken as true, Ms. Ricard’s free speech claim is not barred as “school-

sponsored speech” because Defendants have no legitimate pedagogical interest in enforcing a rule

that is a “pretext for religious discrimination.” Axson-Flynn, 356 F.3d at 1293.

                   2. Defendants subjected Ms. Ricard to unconstitutional conditions.
       The unconstitutional conditions doctrine provides a separate, but equally helpful, method

for addressing orders by employers other than the typical, “uncontested employment

responsibilities.” Brammer-Hoelter, 492 F.3d at 1203. Indeed, this doctrine was developed in the

context of teachers and professors who were required to surrender their constitutional rights as a

condition of securing a teaching position. See Perry v. Sinderman, 408 U.S. 593, 597 (1972)

(professor’s contract renewal cannot be denied because of professor’s speech); Shelton v. Tucker,

364 U.S. 479, 489–90 (1960) (teacher cannot be compelled to disclose association in order to teach

at public school). Because compulsion to speak a message that one would not convey even on

one’s own time affects a person in her private capacity—that is, she must choose between her

conscience and her ability to seek public employment at all—the condition is an impermissible

attempt by “a public employer to leverage the employment relationship to restrict, incidentally or

intentionally, the liberties employees enjoy in their capacities as private citizens.” Garcetti, 547

U.S. at 419. Ms. Ricard has stated a claim that Defendants conditioned her ability to work on her

willingness to surrender her constitutional rights. See Compl. at ¶¶ 250–54.
                   3. Defendants unconstitutionally retaliated against Ms. Ricard.
       Ms. Ricard has stated a claim for unconstitutional retaliation under the Tenth Circuit’s five-

part framework. See Helget v. City of Hays, 844 F.3d 1216, 1221 (10th Cir. 2017). The first three

parts ask whether the employee’s speech is protected under Pickering/Garcetti. Id. Since Ms.

Ricard has already shown how the Written Reprimand unconstitutionally sought to compel her


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speech, those elements are satisfied. And Defendants do not contest the fourth and fifth elements:

whether the “speech was a motivating factor in the adverse employment action” and “whether the

defendant would have reached the same employment decision in the absence of the protected

conduct.” Id. The Written Reprimand expressly roots all of its adverse consequences in Ms.

Ricard’s refusal to use terms the District demanded. See supra Part I.A.1. Therefore, Ms. Ricard

has stated a claim that Defendants unconstitutionally retaliated against her.

                   4. Defendants’ retaliation against Ms. Ricard amounts to unconstitutional
                      content- and viewpoint-discrimination.
       The First Amendment prohibits state action restricting speech because of its content or

viewpoint. “Government regulation of speech is content based if a law applies to particular speech

because of the topic discussed or the idea or message expressed.” Reed v. Town of Gilbert, 576

U.S. 155, 163 (2015). Viewpoint discrimination exists where one viewpoint on a subject, or “an

entire class of viewpoints,” is excluded by the government’s action. Rosenberger v. Rector and

Visitors of Univ. of Va., 515 U.S. 819, 831 (1995). Ms. Ricard has alleged that other teachers—

who either do not share her beliefs or whose beliefs are unknown to Defendants—have not used

students’ preferred names or pronouns and have not been punished. See Compl. at ¶¶ 25, 197, 267,

272. Teachers, like Ms. Ricard, who do not use preferred names or pronouns because these terms

“can and do convey a powerful message implicating a sensitive topic of public concern” face

punishment. Meriwether, 992 F.3d at 508. Ms. Ricard has alleged that Defendants discriminated

against her by punishing her based on the content and viewpoint of her speech.
   B. Defendants have violated Ms. Ricard’s right to free exercise of religion.
       Ms. Ricard has stated a claim that Defendants violated her right to free exercise of religion

through the Written Reprimand and by commanding her to address students by preferred pronouns

at school while concealing this fact when communicating with parents.

       1. Defendants’ Policies are subject to strict scrutiny.
       Governmental rules that substantially burden a religious exercise must withstand strict

scrutiny if they fail to be both “neutral and generally applicable.” See Fulton v. City of



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Philadelphia, 141 S. Ct. 1868, 1876 (2021). Ms. Ricard has alleged that Defendants’ actions

compelling her to use pronouns inconsistent with sex and to dishonestly conceal this use from

parents have burdened her sincere religious beliefs. See Compl. ¶¶ 71–90, 246–47. And

Defendants’ policies and enforcement are nether neutral nor generally applicable.
           a. Defendants’ Policies are not neutral.
       The state cannot treat religiously motivated practice differently from similar, secularly-

motivated activity. “Official action that targets religious conduct for distinctive treatment cannot

be shielded by mere compliance with the requirement of facial neutrality. The Free Exercise Clause

protects against governmental hostility which is masked, as well as overt.” Church of the Lukumi

Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 534 (1993). Ms. Ricard has alleged that

Defendants treated her differently than they treated teachers that used students’ last names for

secular reasons. And that they did so because of her religious reasons. See Compl. at ¶¶ 25, 197,

267, 272. Ms. Ricard has also alleged that the policies in question were promulgated and

“backdated” in an attempt to retroactively justify the school’s retaliation against her. See id. at

¶¶ 9, 140. These allegations, taken as true, show “a clear and impermissible hostility toward the

sincere religious beliefs that motivated” Ms. Ricard’s expression, and state a claim for a violation

of the Free Exercise Clause. See Masterpiece Cakeshop, LTD. v. Colo. C.R. Comm’n, 138 S. Ct.

1719, 1729 (2018).
           b. Defendants’ Policies are not generally applicable.
       A law is not generally applicable and triggers strict scrutiny if it offers a “system of

individualized exceptions.” Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643,

653 (10th Cir. 2006). A “classic example” of such a system is one that offers exemptions based on

“consideration of the particular circumstances” by enforcing officials. Id. (quoting Emp. Div.,

Dept. of Human Res. v. Smith, 494 U.S. 872, 884 (1990)). Ms. Ricard has alleged that Defendants

decide who gets punished for using last names or for avoiding use of pronouns depending on their

assessment of the teacher’s reason for doing so. See Compl. at ¶¶ 25, 197, 267, 272. Because

Defendants’ Policies and practices are not generally applicable, they must withstand strict scrutiny.


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       2. Defendants’ Policies fail strict scrutiny.
       “A government policy can survive strict scrutiny only if it advances ‘interests of the highest

order’ and is narrowly tailored to achieve those interests.” Fulton, 141 S. Ct. at 1881 (quoting

Lukumi, 508 U.S. at 546). Defendants’ Policies and practices cannot satisfy either element.
           a. Defendants have no compelling interest in enforcing their Policies against Ms.
              Ricard.
       Defendants have no compelling interest justifying their treatment of Ms. Ricard.

Defendants repeatedly invoke an interest in prohibiting discrimination. But Ms. Ricard has alleged

that her practice is nondiscriminatory and alleged facts showing that she does not treat students

differently based on their gender identity. See supra Facts III.A. In any event, Defendants must

show “not [that] the [Defendants have] a compelling interest in enforcing [their] non-

discrimination policies generally, but whether [they have] such an interest in denying an exception

to” Ms. Ricard in particular. Fulton, 141 S. Ct. at 1881 (emphasis added). Defendants offer no

compelling interest in forcing Ms. Ricard to use pronouns inconsistent with sex and to mislead

parents while allowing other teachers to use last names for various reasons or allowing building

administrators to notify parents but not Ms. Ricard.
           b. Defendants’ Policies are not narrowly tailored to achieve any compelling
              interest.
       Defendants’ enforcement of their Policies (or lack thereof) also shows the lack of narrow

tailoring. A regulation that leaves “unburdened those speakers whose messages are in accord with

[the government’s] own views” while burdening those that disagree is not narrowly-tailored. Nat’l

Inst. of Fam. and Life Advocs. v. Becerra, 138 S. Ct. 2361, 2378 (2018). Defendants do exactly

this: letting employees like Mr. Lubbers (who they know shares their view) use the “incorrect”

pronoun to refer to Student 1 while punishing Ms. Ricard for simply trying to avoid pronouns that

violate her conscience. See Compl. Ex. B, ECF No. 1-2 at 2.

       Ms. Ricard has stated a claim for violation of her right to free exercise of religion because

(1) she has alleged facts showing that Defendants’ Policies were both adopted and enforced to

target her religious views and excuse similar conduct with a secular motivation, (2) Defendants



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have no compelling interest in doing so, and (3) Defendants’ means are not narrowly tailored to

any legitimate end.
   C. Defendants deprived Ms. Ricard of due process of law.
       Ms. Ricard has stated a claim that Defendants deprived her of due process of law, both

through the Written Reprimand and through the ongoing application of the Diversity and Inclusion

Policy. The Due Process Clause requires “that laws give the person of ordinary intelligence a

reasonable opportunity to know what is prohibited, so that [s]he may act accordingly.” Grayned v.

City of Rockford, 408 U.S. 104, 108 (1972). Ms. Ricard has alleged that, at the time Defendants

punished Ms. Ricard for using a student’s last name, no policy prohibited use of last names and no

policy interpreted use of last names in place of preferred pronouns to constitute prohibited

discrimination. See supra Facts II.A–B. And, once Defendants did adopt a written policy, it still

denied Ms. Ricard due process. The revised policy merely stated, “[s]tudents will be called by their

preferred name and pronouns.” Compl. at ¶ 186. But Ms. Ricard has alleged that Defendants did

not interpret this to mean all “preferred name[s],” since vulgar terms did not have to be used. See

Compl. at ¶ 159. As a result, Ms. Ricard had no “reasonable opportunity to know what [was]

prohibited” and, therefore, was denied due process. Grayned, 408 U.S. at 108.
   D. Defendants denied Ms. Ricard equal protection of the law.
       “When a plaintiff demonstrates that a challenged law burdens a fundamental right, courts

apply strict scrutiny in assessing the validity of the law” under the Equal Protection Clause.

Petrella v. Brownback, 787 F.3d 1242, 1261 (10th Cir. 2015). Ms. Ricard has alleged facts to show

that Defendants targeted the content and viewpoint of her speech and her religious beliefs in the

way they framed and enforced their Diversity and Inclusion Policy. See supra Part I.A–B. In

addition, Ms. Ricard has alleged facts to show that other similarly situated teachers who engaged

in identical behavior as Ms. Ricard—addressing students by last name—were treated differently

than her simply because their reason for engaging in identical expression was different. See

Compl. at ¶¶ 25, 197, 267, 272. Because Defendants can state no valid reason for treating her

speech different from other employees’ identical speech, see supra Parts I.A.1.a.iv, I.B.2.a, Ms.


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Ricard states a claim under the Equal Protection Clause even without any burden on another

fundamental liberty. See Tonkovich v. Kan. Bd. of Regents, 159 F.3d 504, 532 (10th Cir. 1998).
   E. Ms. Ricard stated a claim for breach of contract.
       The elements of a breach of contract claim under Kansas law are: “(1) the existence of a

contract between the parties; (2) sufficient consideration to support the contract; (3) the plaintiff’s

performance or willingness to perform in compliance with the contract; (4) the defendant's breach

of the contract; and (5) damages to the plaintiff caused by the breach.” JP Morgan Tr. Co. Nat.

Ass’n v. Mid-Am. Pipeline Co., 413 F. Supp. 2d 1244, 1272 (D. Kan. 2006). Defendants do not

contest the validity of the Negotiated Agreement or the fact that it protects Ms. Ricard. They only

argue that there was no breach. See Defs.’ Mem. at 30–32.

       To contest Ms. Ricard’s claim that Defendants breached the Agreement by immediately

resorting to a suspension and Written Reprimand, Defendants focus on two provisions of the

Agreement. First, Defendants note that “situations that constitute a breach of board policy that

could impair the effective operation of the school, or constitute a criminal violation” excuse

deviations from the regular disciplinary process. Defs.’ Mem. at 31. But Defendants emphasize

the wrong part of that provision: what matters is not Defendants’ claim that Ms. Ricard’s use of

last names might “impair the effective operation of the school” (a disputed fact that cannot be the

basis of dismissal), but that this provision that this provision only applies where an employee has
committed “a breach of board policy.” Compl. Ex. H, ECF No. 1-8 at 34 (emphasis added). All

parties agree that there was no board policy on preferred names and pronouns until September

2021, five months after Ms. Ricard’s suspension. See Compl. ¶¶ 183–86. And Ms. Ricard has

alleged that, at the time of her suspension and reprimand, no other board policies had been

interpreted to prohibit use of last names or require use of preferred names or pronouns. See supra

Facts II.A–B.

       Next, Defendants argue that there was no breach because Ms. Ricard’s alleged policy

violation was not a “minor infraction.” Defs.’ Mem. at 31. Defendants assert Ms. Ricard’s use of

a last name was not a minor infraction because it disrupted school operations simply because some


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students complained. See id. But student complaints are not inherently disruptive to school

(students complain about countless matters), and Ms. Ricard has alleged that her actions did not

interfere with school operations, allegations which must be taken as true at this stage. See Compl.

¶ 207. Because Ms. Ricard has alleged that she did not violate any existing board policy and that

her actions were not disruptive, she has stated a claim that Defendants breached the Agreement in

immediately suspending her and placing a Written Reprimand in her file. 4
II. None of Ms. Ricard’s claims are moot.
        Defendants claim that Ms. Ricard’s free exercise claim for nominal damages “fails because

she was not subjected to any adverse action or injury because of the Communication with Parents

Policy” and that her claim for injunctive relief fails because the policy was rescinded after this

Court’s ruling that that aspect of the policy was likely unconstitutional. Defs.’ Mem. at 23–24.

This is incorrect.

        First, Defendants incorrectly apply this argument to all of Ms. Ricard’s “free exercise

claim[s].” Id. But Ms. Ricard has also claimed that her original suspension and Written Reprimand

violated her free exercise rights. See supra Part I.B. Ms. Ricard’s claim for nominal damages

arising from that completed violation of her rights is still live. See Uzuegbunam v. Preczewski, 141

S. Ct. 792, 802 (2021). And because Defendants are causing ongoing reputational injury to Ms.

Ricard by maintaining a record of that unlawful discipline, Ms. Ricard can seek declaratory and
injunctive relief to remedy that wrong. See Flint v. Dennison, 488 F.3d 816, 824 (9th Cir. 2007)

(as long as a “record contains evidence of disciplinary sanctions” and the plaintiff seeks “an order

requiring school officials to expunge from school records all mention of the disciplinary action,

the action is not moot.” (cleaned up)); see also Tazewell Cty. Sch. Bd. v. Brown, 591 S.E.2d 671,

674 (Va. 2004) (finding no mootness since “[t]he fact of and reasons for [the] suspension are

4
  Defendants do not contest the damages element of the breach of contract claim, but Ms. Ricard
has pled that element as well. See Compl. at ¶¶ 197a–b, 198–200. Ms. Ricard’s claims for nominal
damages and injunctive relief are sufficient for a breach of contract action. “Plaintiff is thus not
required to prove monetary damages to establish its breach of contract claims. Rather, [she]
may—as [she] has—seek injunctive relief for the alleged breach.” API Americas, Inc. v. Miller,
380 F. Supp. 3d 1141, 1152 (D. Kan. 2019).


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contained in his personnel file and will remain there unless removed based upon a determination

that the information therein was unfounded.”).

       Second, Ms. Ricard has alleged that she suffered a completed violation of her rights at

Defendants’ hands through their enforcement of the “communication with parents” component of

the Diversity and Inclusion Policy while it was still in force. See Compl. ¶¶ 74–76, 88; 5 see also

Ricard v. USD 475 Geary Cty., Kan. Sch. Bd., No. 5:22-cv-04015, 2022 WL 1471372, at *9 (D.

Kan. May 9, 2022). Therefore, none of Ms. Ricard’s claims for relief are moot.
III. Defendants are not entitled to qualified immunity.
       Defendants are not entitled to qualified immunity from any of Ms. Ricard’s claims for

relief. Defendants’ maintenance of the unlawful Written Reprimand is causing Ms. Ricard ongoing

injury and she has stated a claim for injunctive relief against this wrongdoing. See supra Part II.

“Qualified immunity . . . it is not a defense against claims for injunctive relief against officials in

their official capacities,” so Defendants have no qualified immunity from these claims. Meiners,

359 F.3d at 1233 n.3.

       As to damages, Defendants only assert qualified immunity from Ms. Ricard’s speech

claims, arguing that the issues surrounding the application of the “school-sponsored speech”

question and the applicability of Garcetti’s “official duties” test are not clearly established. Defs.’

Mem. at 34.
       On school-sponsored speech, Defendants are wrong because Ms. Ricard has alleged that

Defendants’ Policies were adopted and enforced as a pretext to suppress her viewpoint and

religious exercise. In Axson-Flynn, the Tenth Circuit denied qualified immunity where such

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  Ms. Ricard testified in more detail at the Court’s hearing on her motion for preliminary
injunction and explained that she had, in fact, been forced to communicate with parents in a
dishonest fashion as a result of the Policy. While she did not allege this particular fact in the
Complaint, the Court must “construe [her] allegations, and any reasonable inferences that might
be drawn from them, in the light most favorable to the plaintiff.” Gaines v. Stenseng, 292 F.3d
1222, 1224 (10th Cir. 2002) (emphasis added). It is reasonable to infer that Ms. Ricard, like any
teacher, would communicate with parents between October 2021 and May 2022. Therefore it is
reasonable to infer that she had to breach her beliefs about honesty, parental rights, and student
wellbeing as plead in the Complaint. If the Court disagrees, Ms. Ricard requests that she be
afforded an opportunity to file an amended complaint to include allegations of the facts to which
she has already testified.

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allegations were made. 356 F.3d at 1300. The court held, “it is clearly established that a pretextual

speech restriction that is not justified by a legitimate pedagogical concern, and is based rather on

religious discrimination, would violate [Plaintiff’s] First Amendment rights.” Id. Because Ms.

Ricard makes precisely this allegation, Defendants have no qualified immunity.

       On her employee speech claim, Ms. Ricard’s “right to be free from retaliatory employment

action based on her protected First Amendment activit[y]” is also clearly established. Casey v. W.

Las Vegas Indep. Sch. Dist., 473 F.3d 1323, 1334 (10 Cir. 2007). It is Defendants’ theory of

Garcetti—that schools may order teachers to say anything and the fact that it is compelled renders

it an “official duty” immune from First Amendment challenge—that is anomalous. As Brammer-

Hoelter makes clear, Garcetti is about the government’s ability to restrict an employee from trying

to speak her own message when she is carrying out her “uncontested employment responsibilities.”

492 F.3d at 1203. Garcetti does not say that the government has the power to command whatever

it wants in the first place and then let the fact that it was commanded serve as the rule’s own legal

defense. This theory is certainly not clearly established. But what is clearly established is that

“[c]ompelling individuals to mouth support for views they find objectionable violates [the]

cardinal constitutional command,” even in the employment context. Janus, 138 S. Ct. at 2463.

Because Defendants’ Policies sought to compel Ms. Ricard to voice views she objected to on what

is unquestionably a matter of public concern, Defendants are not entitled to qualified immunity.
                                         CONCLUSION
       This Court should deny Defendants’ motion to dismiss Ms. Ricard’s Complaint.


Respectfully submitted this 17th day of June, 2022.

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                                CERTIFICATE OF SERVICE
       I hereby certify that on the 17th day of June, 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to:

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